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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:
                                                                     Chapter 7
    BAYOU STEEL BD HOLDINGS, L.L.C., et                              Case No. 19-12153 (KBO)
    al., 1
              Debtors.                                               (Jointly Administered)
    GEORGE L. MILLER, in his capacity as
    Chapter 7 Trustee for the jointly administered
    bankruptcy estates of Bayou Steel BD                             Adv. No. 21-51013 (KBO)
    Holdings, L.L.C., et al.,
                                                                     Hearing Date: May 25, 2022 at 11:00 a.m. (ET)
                               Plaintiff,                            Ref. Adv. Docket Nos. 25, 27
              v.

    BLACK DIAMOND CAPITAL
    MANAGEMENT, L.L.C., et al.,

                               Defendants.


        NOTICE OF ORAL ARGUMENT ON DEFENDANTS’ MOTIONS TO DISMISS

                   PLEASE TAKE NOTICE that a hearing with respect to oral argument on the: (i)

Independent Directors Motion to Dismiss (Adv. Docket No. 25); and (ii) Defendants Black

Diamond Capital Management, L.L.C., BDCM Opportunity Fund IV, L.P., Black Diamond

Commercial Finance, L.L.C, Sam Farahnak, and Phil Raygorodetsky’s Motion to Dismiss (Adv.

Docket No. 27) will be held on May 25, 2022, at 11:00 a.m. (Prevailing Eastern Time) before

the Honorable Karen B. Owens, United States Bankruptcy Court Judge, at the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom #3,

Wilmington, DE 19801.



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 The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification number,
are: Bayou Steel BD Holdings, L.L.C. (1984), BD Bayou Steel Investment, LLC (1222), and BD LaPlace, LLC (5783).




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 Dated: March 28, 2022               PACHULSKI STANG ZIEHL & JONES LLP


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